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 8   RAMESH “SUNNY” BALWANI

 9
10                                 UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA

12                                      SAN JOSE DIVISION

13

14   UNITED STATES OF AMERICA,                     Case No. CR-18-00258-EJD
15                    Plaintiff,                   [PROPOSED] ORDER GRANTING
                                                   DEFENDANT RAMESH “SUNNY”
16          v.                                     BALWANI’S OMNIBUS MOTIONS IN
                                                   LIMINE
17   RAMESH “SUNNY” BALWANI,
                                                   Hon. Edward J. Davila
18                    Defendant.
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                                                           [PROPOSED] ORDER GRANTING DEFENDANT BALWANI’S
                                                                                OMNIBUS MOTIONS IN LIMINE
                                                                                 CASE NO. CR-18-00258-EJD
     Case 5:18-cr-00258-EJD Document 1156-3 Filed 11/19/21 Page 2 of 3



 1                                         [PROPOSED] ORDER

 2            This matter came before the Court on Defendant Ramesh “Sunny” Balwani’s Motions in

 3   Limine.

 4            After considering the filings, the governing law, and the argument of the parties:

 5            IT IS HEREBY ORDERED that the relief requested in Mr. Balwani’s motions is

 6   GRANTED.

 7            IT IS FURTHER ORDERED that the government shall not introduce at trial any evidence

 8   regarding the accuracy and reliability of Theranos tests and/or general Theranos lab practices

 9   unless and until foundation is laid that any such evidence is relevant to the accuracy and
10   reliability of tests run on Theranos technology.

11            IT IS FURTHER ORDERED that the government shall not introduce at trial any

12   testimony of Dr. Das concerning his views on the accuracy and reliability of tests conducted at

13   Theranos, including but not limited to the voiding of tests or Dr. Das’ views on the reasons for

14   voiding tests.

15            IT IS FURTHER ORDERED that the government shall not introduce at trial any

16   evidence, argument, or reference to Defendants’ or Theranos having voided the results of patient

17   tests.

18            IT IS FURTHER ORDERED that the government shall not introduce under Federal Rule

19   of Evidence 801(d)(2)(E) any alleged coconspirator statements made before Mr. Balwani joined
20   Theranos in September 2009 and after any alleged conspiracy ended, no later than May 2016.

21            IT IS FURTHER ORDERED that the government shall not introduce at trial any expert

22   testimony offered by lay witnesses, including but not limited to any such testimony from witness

23   Erika Cheung.

24            IT IS FURTHER ORDERED that the government shall not introduce at trial the

25   October 16, 2015 text messages specified in Mr. Balwani’s motion.

26            IT IS FURTHER ORDERED that the government shall not introduce at trial any

27   evidence, argument, or reference to Mr. Balwani’s personalized license plate or the car to which it

28   was attached.

                                                                   [PROPOSED] ORDER GRANTING DEFENDANT BALWANI’S
                                                                                        OMNIBUS MOTIONS IN LIMINE
                                                                                         CASE NO. CR-18-00258-EJD
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 1         The other relief requested in Mr. Balwani’s motion in limine on certain motions

 2   previously filed by Defendant Elizabeth Holmes is GRANTED.

 3         IT IS SO ORDERED.

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 5    Dated: _____________
 6                                                       HONORABLE EDWARD J. DAVILA
                                                         UNITED STATES DISTRICT JUDGE
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                                                               [PROPOSED] ORDER GRANTING DEFENDANT BALWANI’S
                                                  -2-                               OMNIBUS MOTIONS IN LIMINE
                                                                                     CASE NO. CR-18-00258-EJD
